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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


 WAYNE GARRIGAN, individually and on                Case No. :
 behalf of all others similarly situated,

                Plaintiff,                          CLASS ACTION COMPLAINT

 v.
                                                    DEMAND FOR JURY TRIAL
 DMB FINANCIAL, LLC, a Massachusetts
 Limited Liability Company, and
 COMMONWEALTH SERVICING
 GROUP, LLC, a Massachusetts Limited
 Liability Company,

                Defendants,


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Wayne Garrigan (“Garrigan” or “Plaintiff”) brings this Class Action Complaint

and Demand for Jury Trial (“Complaint”) against Defendant DMB Financial, LLC (“DMB

Financial” or “Defendant DMB Financial”) and Commonwealth Servicing Group, LLC

(“Commonwealth” or “Defendant Commonwealth”) to (1) stop its practice of placing calls using

an “automatic telephone dialing system” and/or using “an artificial or prerecorded voice” to the

cellular telephones of consumers nationwide without their prior express written consent, (2)

enjoin Defendants from continuing to place prerecorded telephone calls to consumers who did

not provide their prior written express consent to receive them, (3) to enjoin Defendants from

calling consumers who are registered on the do not call registry, and (4) obtain redress for all

persons injured by their conduct. Plaintiff, for his Complaint, alleges as follows upon personal

knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by his attorneys.




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                                         INTRODUCTION

         1.       Defendant DMB Financial is a company that assists consumers in getting out of

debt by providing debt management solutions.1

         2.       Defendant Commonwealth is also a company that assists consumers in getting out

of debt by providing debt management solutions.2

         3.       DMB Financial and Commonwealth solicit consumers through the use of

telemarketing, utilizing a prerecorded message when dialing consumer phone numbers regardless

of whether those phone numbers are registered on the National Do Not Call registry, and

regardless of having received written consent to place such calls.

         4.       In Plaintiff’s case, DMB Financial and Commonwealth used an automated dialing

system to place 8 prerecorded calls to his cellular phone number that was registered on the

National Do Not Call registry, despite two different requests for those calls to stop.

                                             PARTIES

         5.       Plaintiff Wayne Garrigan resides in Bonners Ferry, Idaho.

         6.       Defendant DMB Financial is a limited liability company and existing under the

laws of the State of Massachusetts with a principal place of business located at 500 Cummings

Center, Third Floor, Beverly, MA 01915. Defendant conducts business throughout this District,

the State of Idaho, and the United States.

         7.       Defendant Commonwealth is a limited liability company and existing under the

laws of the State of Massachusetts with a principal place of business located at the same address

as DMB Financial at 500 Cummings Center, Third Floor, Beverly, MA 01915. Defendant

conducts business throughout this District, the State of Idaho, and the United States.


1
    http://www.dmbfinancial.com/
2
    http://www.commonwealthservicing.com/

                                                                                                    2
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                                    JURISDICTION AND VENUE

         8.        This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§ 1331, as the action arises under the TCPA, which is a federal statute. This Court has personal

jurisdiction over both of the Defendants because the Defendants conduct a significant amount of

business in this District, solicit consumers in this District, made and continue to make unsolicited

prerecorded calls to this District, and because the wrongful conduct giving rise to this case

occurred in, was directed to, and/or emanated from this District.

         9.        Venue is proper in this District under 28 U.S.C. § 1391(b) because the Plaintiff is

located in this District and the Defendants conduct a significant amount of business within this

District and market to this District, and because the wrongful conduct giving rise to this case

occurred in, was directed to, and/or emanated from this District.

                                     COMMON ALLEGATIONS

DMB Financial Set-up Commonwealth in Order to Distance Itself from Liability

         10.       Between 2009 and at least 2014, a number of complaints were placed online

regarding telemarketing calls (including prerecorded calls) on behalf of DMB Financial. For

example:

               •   “(888) 397-1420 Robo call recorded 08 May 2014 (”DMB Financial, student loan

                   debt alleviation”)”3

               •   In 2013, a consumer wrote, “Telemarketer, from DMB financial a debt

                   management firm”4




3
    https://800notes.com/Phone.aspx/1-888-397-1420
4
    https://800notes.com/Phone.aspx/1-855-610-0879

                                                                                                        3
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       11.    In order to improve their online reputation and avoid liability for their

telemarketing calls, the owners of DMB Financial established a new company - Defendant

Commonwealth in 2015.

       12.    Through Commonwealth, DMB Financial was able to continue placing illegal

telemarketing calls using a prerecorded message to consumer phone numbers, even if those

phone numbers were registered on the National Do Not Call registry.

Connecting DMB Financial to Commonwealth

       13.    Both Defendant DMB Financial and Defendant Commonwealth offer debt

solutions to consumers.

       14.    According to the Massachusetts corporate registries 2017 annual report for

Commonwealth Servicing Group, LLC Matthew Guthrie and Daniel Kwiatek are the managers

of Commonwealth. Similarly, according to the 2017 annual report for DMB Financial, Daniel

Kwiatek and Matthew Guthrie are also the managers for DMB Financial.




5



       15.    According to their LinkedIn profiles, Guthrie and Kwiatek are also the owners of

DMB Financial, though they do not publicize their connection to Commonwealth:




5
 Massachusetts Corporate Registry Search,
http://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?FEIN=001171976&SEAR
CH_TYPE=1.

                                                                                             4
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                                                                                          6




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       16.    The two Defendants Commonwealth and DMB Financial also share the same

address in Beverly, Massachusetts:

Defendant Commonwealth is at 500 Cummings Center,8 and this is the same address for

Defendant DMB Financial:9




6
  Matthew Guthrie, LinkedIn, https://www.linkedin.com/in/matthew-guthrie-752a6010/
7
  Dan Kwiatek, LinkedIn, https://www.linkedin.com/in/dan-kwiatek-8944a317/
8
  Contact, Commonwealth Servicing, http://www.commonwealthservicing.com/#talk-to-us.
9
  DMB Financial, http://www.dmbfinancial.com/.

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         17.    Defendant DMB Financial admits to placing unsolicited cold calls and engaging

in telemarketing online. In a job posting for an Inside Sales Executive, Defendant states that the

role requires “Experience with telemarketing . . . or cold calling”:10

         18.    Not surprisingly, given that the purpose of DMB Financial setting up

Commonwealth was to shield DMB Financial from liability for their telemarketing calls, there

are many complaints online now about Commonwealth (and not DMB Financial) about their

unsolicited, prerecorded calls:

     •   “Received call today and caller tried to sell me on a plan to reduce my credit card debt.
         Said it was a government hardship program. Sounded more like a scam. [identified as
         Commonwealth Law Group]”11
     •   “Prerecorded number to cell phone on DNC. I get to reduce my debt! Actually, if they
         are the standard ones, they are suggesting you default on your credit cards and then they
         will supposedly renegotiate your debt for you. Bring on the collection calls, everyone,
         they are going to save me!! But I digress.
         This was another "2 stage" pre-record, where you have to press '1', then a second
         recording comes on saying if you're really interested, press '1' again. I'm hoping
         that's because people are adding a DTMF '1' to their answering machines messages to
         mess with them. So they are doing which, which hopefully will drop their actual number
         of live leads.
         Played along with them for a little while, but they are a skittish folk (which probably
         results in them actually losing possible clients) and hung up on me after I asked them to
         repeat their company name. Always a sign of a quality institution. They gave the name
         of "Commonwealth Law Group", and stated they were a nationwide law firm
         specializing in debt issues. Google shows several companies using that name, so might
         have to research a little more.”12
     •   “Recording telling me how I’ve been selected to reduce my credit card debt.”13


10
   Inside Sales Executives Job Ad, DMB Financial, Indeed.com
https://www.indeedjobs.com/jobs/1747eb4bcb61bed27dd2?from=snippet.
11
   https://whocallsme.com/Phone-Number.aspx/4124651132
12
   id
13
   https://800notes.com/Phone.aspx/1-717-724-9611

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        19.     DMB Financial still cannot cover up all of its tracks and there is some evidence

online that they are still behind the telemarketing calls. Defendant DMB Financial admits to

placing unsolicited cold calls and engaging in telemarketing online. In a job posting as recent at

May 28th, 2018 for a “full-time” Inside Sales Representative, Defendant states that the role

requires “Experience with telemarketing . . . or cold calling”:14




        20.     By placing the unsolicited telephone calls at issue in this Complaint, Defendant

DMB Financial and Commonwealth caused Plaintiff and the other members of the Classes actual

harm and cognizable legal injury.

        21.     This includes the aggravation and nuisance and invasions of privacy that result

from the unsolicited prerecorded telephone calls that are being made to cellular phones, and a

loss of the use and enjoyment of their phones, including wear and tear to the related data,

memory, software, hardware, and battery components, among other harms.

        22.     In response to Defendant’s unlawful conduct, Plaintiff files this action seeking an

injunction requiring Defendant to cease all unwanted prerecorded / automated call activities and

an award of statutory damages to the members of the Classes under the TCPA.

        23.     Furthermore, Defendant calls consumers who are registered on the Do Not Call

registry.



                                PLAINTIFF’S ALLEGATIONS

14
   Inside Sales Executives Job Ad, DMB Financial, Indeed.com
https://www.indeedjobs.com/jobs/1747eb4bcb61bed27dd2?from=snippet.

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Plaintiff Receives 8 Unsolicited Prerecorded Calls to His Cellular Phone

       24.     On March 15th 2017, Plaintiff registered his cellular number with the National Do

Not Call Registry in order to avoid receiving unsolicited telemarketing calls.

       25.     On January 19, 2018, Plaintiff received three calls from Defendant

Commonwealth, at 8:03 AM, 8:33 AM, and 11:12 AM.

       26.     Every call that Plaintiff answered was prerecorded, inviting him to press ‘1’ in

order to speak with an agent. The prerecorded message stated that pressing ‘2’ would enter

Plaintiff’s phone number into a do not call list. Plaintiff pressed ‘2’ for two of the calls.

       27.     Despite the opt-out attempts, the calls did not stop. Plaintiff received another five

calls over the next twelve days. Frustrated by the prerecorded calls, Plaintiff answered one of the

calls he received on January 31, 2018 from Defendant Commonwealth using phone number 440-

501-4196 at 10:11 AM. Plaintiff pressed ‘1’ to speak with an agent and find out who was calling

him.

       28.     Plaintiff first spoke with an agent named Larry who transferred Plaintiff to Brian

Levinson. Brian asked Plaintiff if he would like to reduce his debt, and asked Plaintiff to visit the

website http://cwservicing.com, a website that uses the name The Commonwealth Law Group.

       29.     Upon information and belief, Commonwealth Law Group is another name used

by Defendant DMB Financial to distance themselves from liability.

       30.     During all relevant times, Plaintiff did not have a relationship with either

Defendant, or any of their affiliated companies, or request that either Defendant place calls to

him or offer him their services. Simply put, neither Defendant possesses Plaintiff’s prior express

consent to place a telephone call to him using a prerecorded voice.




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       31.     The unauthorized telephone calls made by Defendants, as alleged herein, have

harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed his

use and enjoyment of his phone, in addition to the wear and tear on the phone’s hardware

(including the phone’s battery) and the consumption of memory on the phones.

       32.     Even worse, attempts to get the calls stopped did not work. In Plaintiff’s case, he

made at least two requests for the calls to stop by pressing ‘2’ during the prerecorded message.

       33.     Seeking redress for these injuries, Plaintiff, on behalf of himself and Classes of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited prerecorded voice calls to cellular telephones

and unsolicited calls to telephone numbers registered on the DNC.



                                    CLASS ALLEGATIONS

       34.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following Classes:

               Prerecorded No Consent Class: All persons in the United States from
               four years prior to the filing of this action through the present who (1)
               Defendants (or a third person acting on behalf of Defendants) called, (2)
               on the person’s cellular telephone, (3) using a prerecorded voice, and (4)
               for whom the Defendants claim they obtained prior express written
               consent in the same manner as the Defendants claim they supposedly
               obtained prior express written consent to call the Plaintiff.

               Prerecorded Stop Class: All persons in the United States who from a
               date four years prior to the filing of the initial complaint to the present: (1)
               Defendants (or a third person acting on behalf of Defendants) called, (2)
               on the person’s cellular telephone, (3) for the purpose of selling
               Defendants’ products and/or services, (4) using a prerecorded voice, (4)
               after the person informed Defendants that s/he no longer wished to receive
               phone calls from the Defendants.




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               Do Not Call Registry Class: All persons in the United States who (1)
               Defendants (or an agency acting on behalf of Defendants) called more
               than one time on his/her cellular telephone; (2) within any 12-month
               period (3) where the cellular telephone number had been listed on the
               National Do Not Call Registry for at least thirty days; (4) for the purpose
               of selling Defendants’ products and services; and (5) for whom
               Defendants claim (a) they obtained prior express written consent in the
               same manner as Defendants claim they supposedly obtained prior express
               written consent to call the Plaintiff, or (b) they did not obtain prior express
               written consent.

       35.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendants, their

subsidiaries, parents, successors, predecessors, and any entity in which Defendants or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against the Defendants have been fully and finally

adjudicated and/or released. Plaintiff anticipates the need to amend the class definitions

following appropriate discovery.

       36.     Numerosity: The exact size of the Classes is unknown and not available to

Plaintiff at this time, but it is clear that individual joinder is impracticable. On information and

belief, Defendants placed prerecorded telephone calls to thousands of consumers who fall into

the definition of the Classes, regardless of whether the people being called are registered with the

National Do Not Call Registry. Members of the Classes can be easily identified through

Defendants records.

       37.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any




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questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether the Defendants conduct constitutes a violation of the TCPA;

               (b) whether the Defendants systematically made telephone calls to members of
                   the Classes without first obtaining prior express written consent to make the
                   calls;

               (c) whether the Defendants utilized an automatic telephone dialing system to
                   make calls to members of the Classes;

               (d) whether the Defendants made prerecorded telephone calls to members of the
                   Classes without first obtaining prior express written consent to make the calls;

               (e) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendants conduct; and

               (f) whether the Defendants obtained prior express written consent to contact any
                   class members.

               (g) whether the Defendants continued making prerecorded telephone calls to
                   consumers after having received opt-out requests from the consumers.

       38.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and the Defendants have no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor his counsel has any interest adverse to the Classes.

       39.     Appropriateness: This class action is also appropriate for certification because

the Defendants have acted or refused to act on grounds generally applicable to the Classes and as

a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

standards of conduct toward the members of the Classes and making final class-wide injunctive

relief appropriate. The Defendants’ business practices apply to and affect the members of the



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Classes uniformly, and Plaintiffs challenge of those practices hinges on the Defendants conduct

with respect to the Classes as a whole, not on facts or law applicable only to Plaintiff.

Additionally, the damages suffered by individual members of the Classes will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by the Defendants’ actions. Thus, it would be virtually impossible for the members

of the Classes to obtain effective relief from the Defendants’ misconduct on an individual basis.

A class action provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court. Economies of time, effort, and expense will be

fostered and uniformity of decisions will be ensured.

                                FIRST CAUSE OF ACTION
                            Telephone Consumer Protection Act
                            (Violations of 47 U.S.C. § 227 et seq.)
                (On Behalf of Plaintiff and the Prerecorded No Consent Class)

       40.      Plaintiff incorporates the foregoing factual allegations as if fully set forth herein.

       41.      Defendants made prerecorded telephone calls to cellular telephone numbers

belonging to Plaintiff and other members of the Prerecorded No Consent Class without first

obtaining prior express written consent to receive such calls.

       42.      Defendants made the telephone calls using equipment that had the capacity to

store or produce telephone numbers using a random or sequential number generator, to receive

and store lists of phone numbers, and to dial such numbers, en masse, without human

intervention.

       43.      The telephone dialing equipment utilized by the Defendants, also known as a

predictive dialer, dialed numbers from a list, or dialed numbers from a database of telephone

numbers, in an automatic and systematic manner. The Defendants autodialer disseminated

information en masse to Plaintiff and other consumers.



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       44.     By making the unsolicited telephone calls to Plaintiff and the Prerecorded No

Consent Class members’ cellular telephones without their prior express written consent, and by

utilizing a prerecorded voice to make those calls, the Defendants violated 47 U.S.C. §

227(b)(1)(A)(iii).

       45.     As a result of the Defendants unlawful conduct, Plaintiff and the members of the

Prerecorded No Consent Class are each entitled a minimum of Five Hundred Dollars ($500.00)

in damages for each such violation of the TCPA.

       46.     In the event that the Court determines that the Defendants conduct was willful and

knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages

recoverable by Plaintiff and the other members of the Prerecorded No Consent Class.

                                SECOND CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
                     (On Behalf of Plaintiff and the Prerecorded Stop Class)

       47.     Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them by reference herein.

       48.     Defendants made unsolicited and unwanted prerecorded calls to telephone

numbers belonging to Plaintiff and the other members of the Prerecorded Stop Class on their

cellular telephones after they had informed Defendants, orally and/or through the Defendants’

automated prompt system, that they no longer wished to receive such calls from Defendants.

       49.     Defendants placed the unwanted phone calls using equipment that had the

capacity to store or produce telephone numbers to be called using a random or sequential number

generator, and/or receive and store lists of phone numbers, and to dial such numbers, en masse.

       50.     Defendants utilized equipment that made the prerecorded calls to Plaintiff and

other members of the Prerecorded Stop Class simultaneously and without human intervention.



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       51.     By making unwanted autodialed phone calls to Plaintiff and other members of the

Prerecorded Stop Class’s cellular telephones using a prerecorded voice after they requested to no

longer receive such calls, the Defendants violated 47 U.S.C. § 227(b)(1)(A) by doing so without

prior express written consent.

       52.     As a result of the Defendants’ unlawful conduct, Plaintiff and the members of the

Prerecorded Stop Class suffered actual damages in the form of monies paid to receive the

unsolicited telephone calls on their cellular phones and, under Section 227(b)(3)(B), are each

entitled to, inter alia, a minimum of $500 in damages for each such violation of the TCPA.

       Should the Court determine that the Defendants’ conduct was willful and knowing, the

Court may, pursuant to Section 227(b)(3), treble the amount of statutory damages recoverable by

Plaintiff and the other members of the Prerecorded Stop Class.

                                THIRD CAUSE OF ACTION
                            Telephone Consumer Protection Act
                                (Violation of 47 U.S.C. § 227)
                  (On Behalf of Plaintiff and the Do Not Call Registry Class)

       53.     Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them by reference herein.
       54.     47 U.S.C. § 227(c) provides that any “person who has received more than one
telephone call within any 12-month period by or on behalf of the same entity in violation of the
regulations prescribed under this subsection may” bring a private action based on a violation of
said regulations, which were promulgated to protect telephone subscribers’ privacy rights to
avoid receiving telephone solicitations to which they object.
       55.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
who has registered his or her telephone number on the national do-not-call registry of persons
who do not wish to receive telephone solicitations that is maintained by the federal government.”



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       56.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any
person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.”15
       57.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate
any call for telemarketing purposes to a residential telephone subscriber unless such person or
entity has instituted procedures for maintaining a list of persons who request not to receive
telemarketing calls made by or on behalf of that person or entity.”
       58.     Defendants violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be
initiated, telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call
Registry Class members who registered their respective telephone numbers on the National Do
Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
maintained by the federal government. These consumers requested to not receive calls from the
Defendants, as set forth in 47 C.F.R. § 64.1200(d)(3).
       59.     Defendants also violated 47 C.F.R. § 64.1200(d) by failing to have an accurate
written policy of dealing with do not call requests, by failing to accurately inform or train its
personnel engaged in telemarketing regarding the existence and/or use of any do not call list, and
by failing to internally record and honor do not call requests.
       60.     Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
Registry Class received more than one telephone call in a 12-month period made by or on behalf
of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a result of the
Defendants conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered
actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to
$500 in damages for such violations of 47 C.F.R. § 64.1200.
       To the extent the Defendants’ misconduct is determined to be willful and knowing, the


15
   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf



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Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.



                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

        1.     An order certifying the Class as defined above, appointing Plaintiff Wayne

Garrigan as the representative of the Class, and appointing his counsel as Class Counsel;

        2.     An award of actual monetary loss from such violations or the sum of five hundred

dollars ($500.00) for each violation, whichever is greater all to be paid into a common fund for

the benefit of the Plaintiff and the Class Members;

        3.     An order declaring that the Defendants’ actions, as set out above, violate the

TCPA;

        4.     A declaratory judgment that the Defendants’ telephone calling equipment

constitutes an automatic telephone dialing system under the TCPA;

        5.     An order requiring the Defendants to disgorge any ill-gotten funds acquired as a

result of their unlawful telephone calling practices;

        6.     An order requiring the Defendants to identify any third-party involved in the pre-

recorded calling as set out above, as well as the terms of any contract or compensation

arrangement it has with such third parties;

        7.     An injunction requiring the Defendants to cease all unsolicited prerecorded

calling activities, and otherwise protecting the interests of the Classes;




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        8.      An injunction prohibiting the Defendants from using, or contracting the use of, an

automatic telephone dialing system without obtaining, and maintaining records of, call

recipient’s prior express written consent to receive calls made with such equipment;

        9.      An injunction prohibiting the Defendants from contracting with any third-party

for marketing purposes until it establishes and implements policies and procedures for ensuring

the third-party’s compliance with the TCPA;

        10.     An injunction prohibiting the Defendants from conducting any future

telemarketing activities until it has established an internal Do Not Call List as required by the

TCPA;

        11.     Such other and further relief that the Court deems reasonable and just.

                                        JURY DEMAND

        Plaintiff requests a trial by jury of all claims that can be so tried.

                                                Respectfully Submitted,

                                                WAYNE GARRIGAN, individually and on behalf
                                                of class of similarly situated individuals



Dated: November 1, 2018                         By: __/s/ James Bendell________
                                                One of Plaintiff’s Attorneys

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                            Attorneys for Plaintiff and the putative Class

                            *Pro Hac Vice motion forthcoming




                                                                             18
